      Case 1-23-44083-ess           Doc 85     Filed 01/22/25      Entered 01/22/25 18:57:39




IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK
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In re                                                         :   Chapter 11
                                                              :
25 JAY STREET, LLC,                                           :   Case No. 23-44083 (ESS)
                                                              :
                                             Debtor.          :
                                                              :
------------------------------------------------------------x

    NOTICE OF ADJOURNED HEARING ON MOTION OF LENDER FOR ENTRY
        OF AN ORDER APPROVING THE DISCLOSURE STATEMENT TO
     LENDER’S CHAPTER 11 PLAN OF LIQUIDATION AND ESTABLISHING
          SOLICITATION PROCEDURES AND RELATED DEADLINES

        PLEASE TAKE NOTICE, that on December 9, 2024, Wells Fargo Bank, National

Association, as Trustee for the benefit of the registered holders of Benchmark 2020-B17

Mortgage Trust, Commercial Mortgage Pass-Through Certificates, Series 2020-B17 (the

“Lender”), filed the Motion of Lender for Entry of an Order Approving the Disclosure Statement

to Lender’s Chapter 11 Plan of Liquidation, and Establishing Solicitation Procedures and

Related Deadlines (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that the Motion was scheduled for a hearing to be

held on January 9, 2025, at 10:30 a.m. (ET).

        PLEASE TAKE FURTHER NOTICE that the hearing on the Motion has been adjourned

to February 13, 2025, at 3:00 p.m. (ET), or as soon thereafter as counsel may be heard, before

the Honorable Elizabeth S. Stong, United States Bankruptcy Judge, at the United States

Bankruptcy Court, Eastern District of New York, Conrad B. Duberstein U.S. Courthouse, 271-C

Cadman Plaza East, Brooklyn, NY 11201-1800, via Cisco Webex.

        PLEASE TAKE FURTHER NOTICE, parties that wish to appear at the hearing

are required to register their appearance by 4:00 p.m. the day prior to the scheduled




DMFIRM #415086721 v1
      Case 1-23-44083-ess    Doc 85    Filed 01/22/25      Entered 01/22/25 18:57:39




hearing utilizing the Electronic Appearance Portal https://ecf.nyeb.uscourts.gov/cgi-

bin/eCourtAppearances.pl located on the Court’s website.

Dated: January 22, 2025                        Respectfully submitted,

                                               /s/ Laurel D. Roglen
                                               Matthew G. Summers*
                                               Laurel D. Roglen
                                               Ballard Spahr LLP
                                               919 N. Market Street, 11th Floor
                                               Wilmington, Delaware 19801
                                               Tel: (302) 252-4428
                                               Email: roglenl@ballardspahr.com
                                                       summersm@ballardspahr.com

                                               (*Admitted Pro Hac Vice)

                                               Attorneys for Wells Fargo Bank, National
                                               Association, as Trustee for the benefit of the
                                               registered holders of Benchmark 2020-B17
                                               Mortgage Trust, Commercial Mortgage Pass-
                                               Through Certificates, Series 2020-B17




DMFIRM #415086721 v1                       2
